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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :         Crim. No. 17-232 (EGS)
                                             :
MICHAEL T. FLYNN,                            :
                                             :         Sentencing: December 18, 2018
                                             :
                              Defendant.     :


                        GOVERNMENT’S REPLY TO
              DEFENDANT’S MEMORANDUM IN AID OF SENTENCING

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

respectfully submits this reply to defendant Michael T. Flynn’s sentencing memorandum. See

Defendant’s Memorandum in Aid of Sentencing (“Def. Sent. Mem.”), United States v. Flynn,

17-cr-232 (D.D.C. Dec. 11, 2018) (Doc. 50). In his sentencing memorandum, the defendant cites

circumstances surrounding his FBI interview on January 24, 2017, as a factor that mitigates the

seriousness of his offense. See id. at 7-11. The circumstances of the defendant’s interview, which

are further described below, are not mitigating. Nothing about the way the interview was

arranged or conducted caused the defendant to make false statements to the FBI on January 24.

       The defendant chose to make false statements about his communications with the

Russian ambassador weeks before the FBI interview, when he lied about that topic to the media,

the incoming Vice President, and other members of the Presidential Transition Team. When

faced with the FBI’s questions on January 24, during an interview that was voluntary and

cordial, the defendant repeated the same false statements. The Court should reject the

defendant’s attempt to minimize the seriousness of those false statements to the FBI.

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       I.       Defendant’s False Statements Prior to January 24, 2017

       The defendant made his decision to lie about his communications with the Russian

ambassador two weeks before his interview with the FBI.            On January 12, 2017, The

Washington Post published a story asserting that the defendant had spoken with the Russian

ambassador on December 29, 2016, the day the United States announced sanctions and other

measures against Russia in response to that government’s actions intended to interfere with the

2016 election (collectively, “sanctions”). See David Ignatius, Why did Obama Dawdle on

Russia’s hacking?, WASH. POST (Jan. 12, 2017). The Post story asked whether the defendant had

undercut the sanctions and whether his actions violated the Logan Act. The defendant asked a

subordinate member of the Presidential Transition Team to contact the Post on the morning of

January 13 and convey false information about the defendant’s communications with the Russian

ambassador. The “UPDATE” included at the end of the Post story later reported that two

members of the Presidential Transition Team stated that the defendant “didn’t cover” sanctions

in his conversation with the Russian ambassador. Id.

       Over the next two weeks, the defendant repeated the same false statements to multiple

members of the Presidential Transition Team, including Vice President-Elect Michael Pence,

incoming White House Chief of Staff Reince Priebus, and incoming White House Press

Secretary Sean Spicer. Those officials then repeated the defendant’s false statements on national

television. See, e.g., Face the Nation transcript January 15, 2017: Pence, Manchin, Gingrich,

CBS NEWS (Jan. 15, 2017) (Vice President Pence recounting that defendant told him he did not

discuss sanctions with the Russian ambassador); Meet The Press 01/15/17, NBC NEWS (Jan. 15,

2017) (Priebus recounting that he had talked to the defendant and “[t]he subject matter of


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sanctions or the actions taken by the Obama [sic] did not come up in the conversation [with the

Russian ambassador.]”); White House Briefing by Sean Spicer – Full Transcript, Jan. 23, 2017,

CBS NEWS (Jan. 24, 2017) (Spicer recounting that he had spoken with the defendant the day

before, who again stated that he (the defendant) had not spoken to the Russian ambassador about

the sanctions). Thus, by the time of the FBI interview, the defendant was committed to his false

story.

         II.    The Circumstances of the Defendant’s False Statements on January 24, 2017

         The circumstances of the defendant’s interview also show that his decision to make false

statements was voluntary and intentional. The FBI Deputy Director, Andrew McCabe, informed

the defendant about the topic of the interview. See Memorandum of Andrew McCabe dated

January 24, 2017 (“McCabe Memo”) (Attachment A) (McCabe called defendant to arrange the

interview and explained that the FBI needed to talk to him in light of the “media coverage and

public discussion about his recent contacts with Russian representatives.”). When the defendant

asked McCabe if the questions would concern “his contact with the Russian Ambassador to the

United States,” McCabe confirmed they would. Id. During the interview, the FBI agents gave

the defendant multiple opportunities to correct his false statements by revisiting key questions.

When the defendant said he did not remember something they knew he said, they used the exact

words the defendant had used in order to prompt a truthful response. See FD-302 of Peter Strzok

dated July 19, 2017 (“Strzok 302”), at 3 (Attachment B).1 But the defendant never corrected his

false statements.

         The interview was voluntary, and lacked any indicia of coercion. When arranging the


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  Strzok was interviewed on July 19, 2017, in relation to other matters, not as part of the
investigation of the defendant or any investigation of Strzok’s conduct.
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interview, McCabe asked the defendant if he would be willing to speak with two FBI agents, and

the defendant agreed. Id. They agreed to conduct the interview at the defendant’s office in the

White House. Id. As the interviewing agents noted, the defendant was “relaxed and jocular”

during their interactions with him. Id.

       III.    The Circumstances of the Defendant’s Interview Do Not Lessen the
               Seriousness of the Offense

       The defendant submits that multiple aspects of the January 24 interview lessen the

seriousness of his offense “relative to the circumstances of witness interviews in typical cases

charged under 18 U.S.C. § 1001,” including two cases this Office has prosecuted—Alex Van der

Zwaan and George Papadopoulos. Def. Sent. Mem. at 7-11. While there are factors that

distinguish the defendant from those individuals, including the defendant’s cooperation and

military service, the circumstance of his interview is not a meaningful difference.

       A sitting National Security Advisor, former head of an intelligence agency, retired

Lieutenant General, and 33-year veteran of the armed forces knows he should not lie to federal

agents. He does not need to be warned it is a crime to lie to federal agents to know the

importance of telling them the truth. The defendant undoubtedly was aware, in light of his

“many years” working with the FBI, that lying to the FBI carries serious consequences. See Def.

Sent Mem. at 8. He, unlike Van der Zwaan and Papadapoulous, was a senior national security

official with extensive federal government experience, had led an intelligence agency, had

worked with the FBI, and was steeped in the importance of accurate information to decision

making in areas of national security.

       The defendant agreed to meet with the FBI agents, without counsel, and answer their

questions. His obligation to provide truthful information came with that agreement; it did not

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turn on the presence of counsel. Moreover, as the defendant has admitted, weeks after the

January 24 interview, he made materially false statements in filings he provided to another

branch of the Department of Justice pursuant to the Foreign Agents Registration Act (“FARA”).

See Statement of Offense at ¶ 5, United States v. Flynn, No. 17-cr-232 (D.D.C. Dec. 1, 2017)

(Doc. 4). The defendant made those false statements while represented by counsel and after

receiving an explicit warning that providing false information was a federal offense. See, e.g.,

FARA Registration No. 6406, Flynn Intel Group (March 7, 2017), available at

https://efile.fara.gov/docs/6406-Registration-Statement-20170307-1.pdf. The defendant was

equally responsible for telling the truth to both Department of Justice entities, and under both

circumstances he chose to make false statements.

       Finally, the interviewing agents did not observe indicia of deception and had the

impression at that time that the defendant was not lying or did not think he was lying. See

Strzok 302 at 4. Members of the Presidential Transition Team were likewise misled by the

defendant’s false denials. Those misimpressions do not change the fact—as the defendant has

admitted in sworn testimony to this District Court—that he was indeed lying, and knowingly

made false statements to FBI agents in a national security investigation. Those false statements

were material, including by raising the question of why he was lying to the FBI, the Vice

President, and others.

       IV.     Conclusion

       The seriousness of the defendant’s offense cannot be called into question, and the Court

should reject his attempt to minimize it. While the circumstances of the interview do not present

mitigating considerations, assuming the defendant continues to accept responsibility for his


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actions, his cooperation and military service continue to justify a sentence at the low end of the

guideline range.


                                             Respectfully submitted,

                                             ROBERT S. MUELLER, III
                                             Special Counsel

                                       By:            /s/
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                                     Certificate of Service

        I, Brandon L. Van Grack, certify that I caused to be served a copy of the foregoing by
electronic means on counsel of record for defendant Michael T. Flynn on December 14, 2018.


                                                             /s/
                                                     Brandon L. Van Grack




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         Attachment B
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